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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 JOSE L. PEREZ,

      Plaintiff,

 v.
                                                          Case No. 1:19-cv-00889
 CITIMORTGAGE, INC.,

      Defendants.

                                             COMPLAINT

        NOW COMES Plaintiff, JOSE L. PEREZ, through counsel, SULAIMAN LAW GROUP,

LTD., complaining of Defendants, CITIMORTGAGE, INC. as follows:

                                     NATURE OF THE ACTION

        1.         This action seeks damages for Defendant’s willful and/or negligent violations of

the Fair Credit Reporting Act (“FCRA”); 15 U.S.C. § 1681 et seq.

                                    JURISDICTION AND VENUE

        2.         This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1337(a)

under 15 U.S.C. § 1681p with respect to Plaintiff’s FCRA claims.

        3.         Venue is proper as a substantial part of the events or omissions giving rise to the

claim(s) occurred in this judicial district. 28 U.S.C. § 1391(b)(2).

                                               PARTIES

        4.         JOSE L. PEREZ (“Plaintiff”) is a natural person, who at all times relevant resided

in this judicial district.

        5.         Plaintiff is a “consumer” as defined by 15 U.S.C. §§ 1681a(b) and (c).

        6.         Plaintiff is a “person” as defined by 15 U.S.C. § 1681a(b).

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        7.       CITIMORTGAGE, INC. (“CitiMortgage”) provides mortgage products. The

company offers a portfolio of financial services, including banking, insurance, asset management,

credit cards, and more; and homeowner support services. It assists first-time homebuyers, those

interested in building new homes, and those refinancing or tapping into the equity built up in an

existing home. The company also specializes in matching products that fit the unique needs of

customers. CitiMortgage, Inc. was formerly known as CitiCorp Mortgage, Inc. and changed its

name to CitiMortgage, Inc. in April 2000. The company was founded in 1979 and is based in

O'Fallon, Missouri. CitiMortgage, Inc. operates as a subsidiary of Citibank, N.A. and Citi Retail

Services LLC.

        8.       CitiMortgage is a “furnisher of information” as defined by 15 U.S.C. § 1681s-2.

                                   FACTUAL ALLEGATIONS

        9.       On August 25, 2011, Plaintiff executed a mortgage (the “Mortgage”) in favor of

Citibank, N.A.

        10.      The Mortgage secured the purchase of Plaintiff’s personal residence located at 621

2565 Springdale Circle, Naperville, Illinois 60564 (the “Property”).

        11.      The Mortgage secured the repayment of the indebtedness evidenced by a

promissory note in the amount of $244,700.00 (the “Loan”).

        12.      On October 31, 2016, Plaintiff filed a voluntary petition for relief under Chapter 13

of the Bankruptcy Code.

        13.      Simultaneously with the voluntary petition, Plaintiff filed his Chapter 13 plan.

Plaintiff’s plan provided for the Property to be surrendered to CitiMortgage.

        14.      Plaintiff’s Chapter 13 Plan (the “Confirmed Plan”) was confirmed on January 6,

2017.

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        15.       Plaintiff successfully completed plan payments in accordance with his confirmed

Chapter 13 plan.

        16.       On October 15, 2018, the Bankruptcy Court entered an Order of Discharge for the

benefit of Plaintiffs under 11 U.S.C. § 1328(a).

        17.       Plaintiff’s discharge by operation removed Plaintiff’s personal liability on

indebtedness owed to CitiMortgage.

        18.       On November 5, 2018, Plaintiff noticed that CitiMortgage continued to report

Plaintiff’s discharged Loan as “150+ days late” to Equifax Information Services, LLC (“Equifax”).

        19.       On November 6, 2018, Plaintiff mailed a credit dispute letter to Equifax requesting

that this be investigated .

        20.       On November 15, 2018, Equifax sent an automated consumer dispute verification

(“ACDV”) to CitiMortgage.

        21.       On November 16, 2018, Equifax responded to this ACDV by continuing to report

Plaintiff as “180 or more days past due date.”

        22.       Moreover, Equifax failed to report Plaintiff’s Loan as “discharged through

bankruptcy.”

        23.       To date, CitiMortgage’s inaccurate credit reporting of Plaintiff’s Loan continues to

harm Plaintiff.

        24.       CitiMortgage’s inaccurate credit reporting has imposed distrust on Plaintiff – who

now must regularly monitor credit reports to ensure accuracy.

        25.       This entire experience has resulted in anxiety, frustration, and the expenditure of

time.



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       26.       Undeniably, Plaintiff is helpless to regain control of his credit standing and

creditworthiness.

                                       CLAIMS FOR RELIEF

                                            Count I:
                      CitiMortgage’s violation(s) of 15 U.S.C. § 1681 et seq.

       27.       All paragraphs of this Complaint are expressly adopted and incorporated herein as

though fully set forth herein.

       28.       The aforementioned credit reports are “consumer reports” as defined by 15 U.S.C.

§ 1681a(d)(1).

       A.        CitiMortgage’s failure to conduct an investigation

       29.       15 U.S.C. § 1681s-2(b)(1) provides

                 “[a]fter receiving notice of a dispute with regard to the completeness or
                 accuracy of any information provided by a person to a consumer reporting
                 agency, the person shall –

                        (A)      Conduct an investigation with respect to the disputed
                                 information;

                        (B)      Review all relevant information provided by the consumer
                                 reporting agency pursuant to section 1681i(a)(2);

                        (C)      Report the results of the investigation to the consumer
                                 reporting agency;

                        (D)      If the investigation finds that the information is incomplete
                                 or inaccurate, report those results to all other consumer
                                 reporting agencies to which the person furnished the
                                 information and that compile and maintain files on
                                 consumers on a nationwide basis; and

                        (E)      If an item of information disputed by a consumer is found to
                                 be inaccurate or incomplete or cannot be verified after any
                                 reinvestigation for purposes of reporting to a consumer
                                 reporting agency only, as appropriate, based on the results of
                                 the reinvestigation promptly –

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                               (i)     Modify that item of information;

                               (ii)    Delete that item of information; or

                               (iii)   Permanently block the reporting of that item of
                                       information.

       30.     Upon information and belief, pursuant to 15 U.S.C. § 1681i(a)(2), CitiMortgage

received Plaintiff’s dispute letter from Equifax.

       31.     CitiMortgage violated 15 U.S.C. § 1681s-2(b)(1)(A) by failing to conduct an

investigation with respect to the disputed information.

       32.     CitiMortgage violated 15 U.S.C. § 1681s-2(b)(1)(B) by failing to review all

relevant information provided by Equifax.

       33.     Had CitiMortgage conducted a reasonable investigation, CitiMortgage would have

discovered that Plaintiff’s Loan was discharged through bankruptcy.

       34.     CitiMortgage violated 15 U.S.C. § 1681s-2(b)(1)(C) by failing to report the results

of the investigation to Equifax.

       35.     CitiMortgage violated 15 U.S.C. § 1681s-2(b)(1)(E) by failing to promptly modify

that item of information or delete that item of information.

       36.     15 U.S.C. § 1681n provides "[a]ny person who willfully fails to comply with any

requirement imposed under [the FCRA] with respect to any consumer is liable to that consumer in

an amount equal to the sum of -

       (1)

               (A)     any actual damages sustained by the consumer as a result of the
                       failure or damages of not less than $100 and not more than $1,000.

        (2)    such amount of punitive damages as the court may allow; and


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        (3)     in the case of any successful action to enforce any liability under this
                section, the costs of the action together with reasonable attorney’s fees as
                determined by the court.

        37.     15 U.S.C. § 1681o provides "[a]ny person who is negligent in failing to comply

with any requirement imposed under [the FCRA] with respect to any consumer is liable to that

consumer in an amount equal to the sum of -

        (1)     any actual damages sustained by the consumer as a result of the failure; and

        (2)     in the case of any successful action to enforce any liability under this
                section, the costs of the action together with reasonable attorney’s fees as
                determined by the court.

        35.     CitiMortgage’s complete indifference as to its obligations under the FCRA reveal

a conscious disregard for the rights of Plaintiff, and the injuries suffered by Plaintiff is attended by

circumstances of fraud, malice, and wanton and willful conduct, calling for the imposition of

punitive damages.

        WHEREFORE, Plaintiff requests the following relief:

        A.      find CitiMortgage in violation of 15 U.S.C. §§ 1681s-2(b)(1)(A), 1681s-2(b)(1)(B),

                1681s-2(b)(1)(C), and 1681s-2(b)(1)(E).

        B.      award any actual damages to Plaintiff as a result of CitiMortgage violation;

        C.      award any additional damages, as the Court may allow, in an amount not to exceed

                $1,000.00 for each such violation;

        D.      award any punitive damages, as the Court may allow;

        E.      award the costs of the action, together with any attorneys’ fees incurred in

                connection with such action as the Court may determine to be reasonable under the

                circumstances; and

        F.      award such other relief as this Court deems just and proper.

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                                   DEMAND FOR JURY TRIAL

        Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury of any and all issues in

this action so triable of right.

DATED: February 12, 2019                                      Respectfully submitted,

                                                              /s/ Joseph S. Davidson

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